           Case 19-04688-CL7                  Filed 01/25/21          Entered 01/25/21 11:17:29              Doc 283     Pg. 1 of 12
 CSD 1181 [07/01/18]
 Name, Address, Telephone No. & I.D. No.

SULLIVAN HILL REZ & ENGEL
A Professional Law Corporation
James P. Hill, SBN 90478/Gary B. Rudolph, SBN 101921
600 B Street, Suite 1700 San Diego, California 92101
Telephone: (619) 233-4100/Fax Number: (619) 231-4372
Attorneys for Ronald E. Stadtmueller,
Chapter 7 Trustee


                       UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF CALIFORNIA
                       325 West F Street, San Diego, California 92101-6991

 In Re

 INTEGRATEDMARKETING.COM
                                                                                                     BANKRUPTCY NO. 19-04688-CL7



     Tax I.D.(EIN)#:        /S.S.#:XXX-XX-                              Debtor.

                                                        NOTICE OF HEARING AND MOTION

 TO THE DEBTOR, ALL CREDITORS AND OTHER PARTIES IN INTEREST:

         You are hereby notified that on February 22, 2021, at 10:00 a.m., in Department 5 , Room 318 , of the Jacob
 Weinberger United States Courthouse, located at 325 West F Street, San Diego, California 92101-6991, there will
 be a hearing regarding the Motions of Sullivan Hill Rez & Engel, APLC, Counsel for Ronald E. Stadtmueller, Chapter 7
 Trustee; Ronald E. Stadtmueller, Chapter 7 Trustee; and Baker Tilly US LLP fka Squar Milner, LLP, Accountant for Ronald
 E. Stadtmueller, Chapter 7 Trustee for [check the appropriate box]:
            Allowance of interim compensation and reimbursement of expenses of professionals as provided in
         Exhibit "A" [information required by FRBP 2002(c)(2)];

              Applicant                                                                        Fees              Costs
              Sullivan Hill Rez & Engel, APLC, Counsel for Chapter 7 Trustee,                     $225,572         $2,670.54
              Ronald E. Stadtmueller
              November 5, 2019 – September 30, 2020
              First Interim Fee Application
              Ronald E. Stadtmueller, Chapter 7 Trustee                                            $ 40,394.57     $1,139.75
              November 4, 2019 – January 15, 2021
              First Interim Fee Application
              Baker Tilly US LLP fka Squar Milner, LLP, Accountant for Ronald                      $67,893.00       $159.86
              E. Stadtmueller, Chapter 7 Trustee
              November 6, 2019 through December 31, 2020
              First Interim Fee Application

        If not required to be attached, a set of the moving papers will be provided, upon request, by the undersigned or
may be inspected at the office of the Clerk.
        Any opposition or other response to the motion must be served upon the undersigned and the original and one
copy of such papers with proof of service must be filed with the Clerk of the U.S. Bankruptcy Court at 325 West F St.,
San Diego, California 92101-6991, not later than fourteen (14)1days from the date of service.

                                                              SULLIVAN HILL REZ & ENGEL, A Professional Law Corporation

 DATED: January 25, 2021                                                     /s/Gary B. Rudolph
                                                                             Gary B. Rudolph, Esq., Attorney for Ronald E. Stadtmueller,
                                                                             Chapter 7 Trustee
 1
     Depending on how you were served, you may have additional time for response. See FRBP 9006.



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                                                CERTIFICATE OF SERVICE

        I, the undersigned whose address appears below, certify:

        That I am, and at all relevant times was, more than 18 years of age;

        That on the 25th day of January, 2021, I served a true copy of the within NOTICE OF MOTION AND HEARING
on the following persons by the mode of service shown below:

1.     To Be Served by the Court via Notice of Electronic Filing (“NEF”):

           Under controlling Local Bankruptcy Rules(s) (“LBR”), the document(s) listed above will be served by the
court via NEF and hyperlink to the document. On January 25, 2021              , I checked the CM/ECF docket for
this bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail
Notice List to receive NEF transmission at the e-mail address(es) indicated and/or as checked below:

Kathleen A. Cashman-Kramer Cashman-Kramer@Sullivanhill.com,
kathylaw@san.rr.com;Rudolph@sullivanhill.com;hill@sullivanhill.com;bkstaff@sullivanhill.com;Rudolph@ecf.inforuptcy.co
m;cashmankramer@ecf.inforuptcy.com
• Martin A. Eliopulos elio@higgslaw.com, kimbled@higgslaw.com
• William P. Fennell william.fennell@fennelllaw.com,
luralene.schultz@fennelllaw.com;office@fennelllaw.com;wpf@ecf.courtdrive.com;mblackburnjoniaux@fennelllaw.com;tiffa
ny.zappelli@fennelllaw.com
• Gaye N. Heck gheck@bbslaw.com
• Chelsea R. Mikula chelsea.mikula@tuckerellis.com, bethany.mackay@tuckerellis.com
• R. Gibson Pagter gibson@ppilawyers.com, ecf@ppilawyers.com
• Ronald Peterson rpeterson@jenner.com,
ASwingle@jenner.com;MRoot@Jenner.com;PJacobs@jenner.com;CRillo@Jenner.com
• Gary B. Rudolph rudolph@sullivanhill.com,
hill@sullivanhill.com;bkstaff@sullivanhill.com;vidovich@ecf.inforuptcy.com;rudolph@ecf.inforuptcy.com;cashman-
kramer@sullivanhill.com
• Maggie Schroedter schroedterm@higgslaw.com, kimbled@higgslaw.com
• Leslie Skorheim leslie.skorheim@usdoj.gov,
USTP.Region15@usdoj.gov,tiffany.l.carroll@usdoj.gov,abram.s.feuerstein@usdoj.gov
• Ronald E. Stadtmueller ecfstadt@aol.com, res@trustesolutions.net;ecfstadt2@aol.com
• Mark Eugene Terman mark.terman@faegredrinker.com,
cesar.ibanez@faegredrinker.com,docketgeneral@faegredrinker.com,timothy.casey@faegredrinker.com
• Todd C. Toral ttoral@jenner.com, ELamm@jenner.com,docketing@jenner.com,1703670420@filings.docketbird.com
• United States Trustee ustp.region15@usdoj.gov

              For Chpt. 7, 11, & 12 cases:    For ODD numbered Chapter 13 cases:    For EVEN numbered Chapter 13 cases:
              UNITED STATES TRUSTEE           THOMAS H. BILLINGSLEA, JR., TRUSTEE   DAVID L. SKELTON, TRUSTEE
              ustp.region15@usdoj.gov         Billingslea@thb.coxatwork.com         admin@ch13.sdcoxmail.com
                                                                                    dskelton13@ecf.epiqsystems.com




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2.     Served by United States Mail:

           On J a n u a r y 2 5 , 2 0 2 1 I served the following person(s) and/or entity(ies) at the last known
address(es) in this bankruptcy case or adversary proceeding by placing accurate copies in a sealed envelope in the
United States Mail via 1) first class, postage prepaid or 2) certified mail with receipt number, addressed as follows:


       Law Office of Robert J. Kolodny, APC
       (fka Kolodny & Pressman LLP)
       1335 Camino Del Mar
       Del Mar, CA 92014

       Dan McAllister
       Treasurer-Tax Collector
       1600 Pacific Hwy Room 162
       Attn: Bankruptcy Desk
       San Diego, CA 92101

       Gene T. Peterson
       1869 Guilder Gln
       Escondido, CA 92029

       Squar Milner LLP
       San Diego
       3655 Nobel Drive
       Suite 300
       San Diego, CA 92122

                                        *SEE ATTACHED SERVICE LIST*




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3.     Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mail:

       Under Fed.R.Civ.P.5 and controlling LBR,                                     , I served the following person(s)
and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile
transmission, by overnight delivery and/or electronic mail as follows:

       Attorney for Debtor (or Debtor), if required:



       I declare under penalty of perjury under the laws of the United States of America that the statements made
       in this proof of service are true and correct.



       Executed on         January 25, 2021                           Laurel Dinkins/s/Laurel Dinkins
                           (Date)                                    (Typed Name and Signature)

                                                                      600 B Street, Suite 1700
                                                                     (Address)

                                                                      San Diego, CA 92101
                                                                     (City, State ZIP Code)




                                                                                                                416105-v1
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                                                                 Exhibit A - Page 5




                       EXHIBIT A                                 Exhibit A - Page 5
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CSD 1181A (Page 3)                             [TO BE INCLUDED IN OR ATTACHED TO FEE NOTICES]
                                                                                                                    Exhibit A - Page 6
                       [08/01/11]



APPLICANT Sullivan Hill Rez & Engel, APLC                    , REPRESENTING [Name & Title] Ronald E. Stadtmueller, Chapter 7 Trustee


                                                                FEES
                        FEES                 FEES                               FEES HELD           FEES             COSTS              COSTS
                                                             AUTHORIZED
                     REQUESTED              ALLOWED                                BACK          DISALLOWED1       REQUESTED           AWARDED
                                                             FOR PAYMENT

  1ST INTERIM            225,572.00                                                                                     2,670.54
 11/5/19 9/30/20
  ____to____
  2ND INTERIM
  ____to____
  3RD INTERIM
  ____to____
  4TH INTERIM
  ____to____

    TOTALS:              225,572.00                   0.00             0.00               0.00             0.00         2,670.54             0.00



APPLICANT Ronald E. Stadtmueller, Chapter 7 Trustee          , REPRESENTING [Name & Title]


                                                                FEES
                        FEES                 FEES                               FEES HELD           FEES             COSTS              COSTS
                                                             AUTHORIZED
                     REQUESTED              ALLOWED                                BACK          DISALLOWED2       REQUESTED           AWARDED
                                                             FOR PAYMENT

  1ST INTERIM             40,394.57                                                                                     1,139.75
 11/4/19 01/15/21
  ____to____
  2ND INTERIM
  ____to____
  3RD INTERIM
  ____to____
  4TH INTERIM
  ____to____

    TOTALS:               40,394.57                   0.00              0.00              0.00             0.00         1,139.75             0.00




                                                                                                                   Exhibit A - Page 6
      1
      Please provide an explanation for this disallowance.
      2
      Please provide an explanation for this disallowance.
CSD 1181A                                              EXHIBIT "A"                                                      Page       1    of       2
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  TAJÿ<>?BA<P
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Label Matrix for local noticing         INTEGRATEDMARKETING.COM                      Lawe Office of Robert J. Kolodny, APC
0974-3                                  10590 West Ocean Air Drive #150              (fka Kolodny & Pressman LLP)
Case 19-04688-CL7                       San Diego, CA 92130-4678                     1335 Camino Del Mar
Southern District of California                                                      Del Mar, CA 92014-2507
San Diego
Fri Jan 22 14:33:03 PST 2021
Squar Milner LLP                        UTC Properties, LLC                          United States Trustee
San Diego                               c/o R. Gibson Pagter, Jr.                    Office of the U.S. Trustee
3655 Nobel Drive                        PAGTER AND PERRY ISAACSON                    880 Front Street
Suite 300                               525 N. Cabrillo Park Drive, Suite 104        Suite 3230
San Diego, CA 92122-1050                Santa Ana, CA 92701-5017                     San Diego, CA 92101-8897

U.S. Bankruptcy Court                   Aaron Smith                                  Aaron Smith
Jacob Weinberger U.S. Courthouse        12954 Carmel Creek Road, Unit 115            5603 Avenida Del Parque
325 West F Street                       San Diego, CA 92130-3109                     Rancho Santa Fe, CA 92091-4353
San Diego, CA 92101-6991


American Express                        American Express                             American Express Travel Related Services Com
Box 0001                                Customer Service                             Inc.
Los Angeles, CA 90096-8000              PO Box 981535                                c/o Becket and Lee LLP
                                        El Paso, TX 79998-1535                       PO Box 3001
                                                                                     Malvern PA 19355-0701

Amy Vulpio, Esq.                        Anthead Digital, LLC                         Ari Wells
White and Williams LLP                  7465 Salizar Street                          3575 Caminito El Rincon
1650 Market Street, Suite 1800          San Diego, CA 92111-3534                     Unit 213
Philadelphia, PA 19103-7304                                                          San Diego, CA 92130-3522


Arizona Republic                        (p)BMW FINANCIAL SERVICES                    Bay Area News Group
PO Box 677595                           CUSTOMER SERVICE CENTER                      PO Box 65230
Dallas, TX 75267-7595                   PO BOX 3608                                  Colorado Springs, CO 80962-5230
                                        DUBLIN OH 43016-0306


Benefit Concepts                        Brian Hector, Esq.                           Brookfield Residential LP
Attn: Dave Weinstock                    Morgan, Lewis & Bockius LLP                  4906 Richard Road Southwest
57 W. 38th Str., 3rd Flr, RM 302        77 West Wacker Drive                         Calgary, AB T3E 6L1
New York, NY 10018-1903                 Chicago, IL 60601-5094                       Canada


Builder Digital Experience LLC          California Bank & Trust                      California Bank & Trust
PO Box 202747                           1875 South Redwood Rd.                       PO Box 25787
Dallas, TX 75320-2747                   Salt Lake City, UT 84104-5112                Salt Lake City, UT 84125-0787



California Bank & Trust                 California Department of Tax and             Chantal Gordon-Benoit
PO Box 30833                            Fee Administration                           34211-1/2 Atwater Avenue
Salt Lake City, UT 84130-0833           Special Operations Branch, MIC:55            Los Angeles, CA 90039
                                        PO Box 942879
                                        Sacramento, CA 94279-0055

Christopher Rillo, Esq.                 Clear Channel Outdoor                        Colonial Life
Jenner & Block LLP                      PO Box 742025                                PO Box 1365
633 West 5th St., #3600                 Los Angeles, CA 90074-2025                   Columbia, SC 29202-1365
Los Angeles, CA 90071-2091
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                                                                                             9 of 9
                                                                                                  12
Dan McAllister                          Daniel P. Velocci-                       Diane Gaynor McCue
Treasurer, Tax Collector                Iannitelli Marcolini, P.C.               2901 Amigo Drive
San Diego County Treasurer              5353 North 16th, Suite 315               Lake Havasu City, AZ 86404-2105
1600 Pacific Highway, Room 162          Phoenix, AZ 85016-3227
San Diego, CA 92101-2477

Diane Lori Gaynor McCue                 Ellen Wong                               FRANCHISE TAX BOARD
2901 Amigo Drive                        12562 Caminito Mira Del Mar              BANKRUPTCY SECTION MS A340
Lake Havasu City, AZ 86404-2105         San Diego, CA 92130-2387                 PO BOX 2952
                                                                                 SACRAMENTO CA 95812-2952


First American Bank                     First American Bank                      Geoffrey M. Miller,
700 Busse Road                          Attn: Jamie M. Walrack, VP               Dentons US LLP
Elk Grove Village, IL 60007-2133        1650 Louis Avenue                        233 S. Wacker Dr., Suite 5900
                                        Elk Grove Village, IL 60007-2350         Chicago, IL 60606-6404


George Stephanos                        Google, Inc.                             Howard J. Levine, Esq.
4189 Lochlomond St.                     1600 Amphitheatre Pkwy                   Drinker Biddle & Reath LLP
San Diego, CA 92111-3625                Mountain View, CA 94043-1351             191 N. Wacker Drive, #3700
                                                                                 Chicago, IL 60606-1698


IHP Capital Partners                    IHP Capital Partners                     Ian Monteyro
Attn: Legal Dept.                       Attn: Peter Bridges, AICP                930 Via Mil Cumbres #39
100 Bayview Circle, Suite 2000          6540 Lonetree Blvd., Suite 200           Solana Beach, CA 92075-1703
Newport Beach, CA 92660-8907            Rocklin, CA 95765-6006


Infinisource Benefit Services           Internal Revenue Service                 James Martin Dalgleish
15 E. Washington St                     PO Box 7346                              350 Nutmeg St. #302
PO Box 889                              Philadelphia, PA 19101-7346              San Diego, CA 92103-6267
Coldwater, MI 49036-0889


Jamie M. Walrack, First VP              Jane C Wheeler                           Jane Carey Wheeler
First American Bank                     c/o Mark E Terman, Faegre Drinker        1206 Caminito Graciela
1650 Louis Avenue                       1800 Century Park East, Ste 1500         Encinitas, CA 92024-7002
Elk Grove Village, IL 60007-2350        Los Angeles CA 90067-1504


Jane Wheeler                            Janis Strockis                           Jason McGuiness
1206 Caminito Graciela                  5213 Sandhill Terrace                    6539 Radio Dr
Encinitas, CA 92024-7002                San Diego, CA 92130-3705                 San Diego, CA 92114-2022



Jo DePiano                              John Durant                              Justine Stephanos
9383 Adolphia Street                    c/o Burns the Attorney                   4189 Lochlomond St
San Diego, CA 92129-3556                3911 Cleveland Ave. #635247              San Diego, CA 92111-3625
                                        San Diego, CA 92163-7136


Kaitlin Krzyminski                      Kathleen Hennessey-Gannett Co Inc        Kellie Christensen
3880 Florida St. #16                    Law Dept                                 8270 Avenida Navidad #2
San Diego, CA 92104-6423                7950 Jones Branch DR                     San Diego, CA 92122-4454
                                        McLean, VA 22107-0002
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Kolodny & Pressman                                          12
                                        Larry A. Goldberg, Esq.                   Martin A. Eliopulos, Esq.
1335 Camino del Mar                     ESOP Law Group                                   HIGGS FLETCHER & MACK LLP
Del Mar, CA 92014-2507                  244 California Street, #300                      401 West A Street, Suite 260
                                        San Francisco, CA 94111-4311                     San Diego, CA 92101-7900


Martin Eliopulos, Esq.                  Megan Harnal                                     Melcor Developments Ltd
Higgs Fletcher & Mack LLP               3723 69th Street                                 900, 10310 Jasper Avenue NW
401 West A Street #2600                 La Mesa, CA 91941-7402                           Edmonton, AB T5J 1Y8
San Diego, CA 92101-7913                                                                 Canada


Microsoft Corporation                   Microsoft Online, Inc.                           Miguel Paredes
Fox Rothschild LLP                      6100 Neil Road, Suite 100                        ESOP Trustee
Attn David P. Papiez                    Reno, NV 89511-1137                              100 N. Barranca St., Suite 870
1001 Fourth Avenue, Suite 4500                                                           West Covina, CA 91791-1663
Seattle, WA 98154-1192

NASH Cascadia Verde, LLC                NASH Eagle Ridge, LLC                            NASH Rancho Hills, LLC
c/o Higgs Fletcher & Mack LLP           c/o Higgs Fletcher & Mack LLP                    c/o Higgs Fletcher & Mack LLP
Attn: Maggie E. Schroedter              Attn: Maggie E. Schroedter                       Attn: Maggie E. Schroedter
401 West A Street, Suite 2600           401 West A Street, Suite 2600                    401 West A Street, Suite 2600
San Diego, CA 92101-7913                San Diego, CA 92101-7913                         San Diego, CA 92101-7913

NASH Sweetwater, LLC                    NNP III-Estrella Mountain Ranch, LLC             NetFortris
c/o Higgs Fletcher & Mack LLP           c/o Higgs Fletcher & Mack LLP                    5601 6th Avenue S., Suite 201
Attn: Maggie E. Schroedter              Attn: Maggie E. Schroedter                       Seattle, WA 98108-2544
401 West A Street, Suite 2600           401 West A Street, Suite 2600
San Diego, CA 92101-7913                San Diego, CA 92101-7913

New Homes Directory.com                 Newland Real Estate Group LLC                    Office of the United States Trustee
39977 Savanna Way                       4790 Eastgate Mall, Suite 150                    880 Front Street, Suite 3230
Murrieta, CA 92563-4395                 San Diego, CA 92121-2061                         San Diego, CA 92101-8897



Outdoor Promotions of                   Outfront                                         Principal Life Group
Colorado LLC                            185 US Highway 46                                PO Box 10372
5100 College Ave., Suite A              Fairfield, NJ 07004-2321                         Des Moines, IA 50306-0372
Fort Collins, CO 80525-3804


Prudential Fiduciary Serv. LLC          Ronald R. Peterson Esq                           Ronald R. Peterson, Esq.
100 N. Barranca St., Ste. 870           JENNER & BLOCK LLP                               Jenner & Block LLP
West Covina, CA 91791-1663              353 N Clark Street                               353 North Clark Street
                                        Chicago IL 60654-5474                            Chicago, IL 60654-5474


San Diego County Treasurer              San Diego County Treasurer-Tax Collector         Shahrzad Newton
Tax Collector                           Attn: Bankruptcy Desk                            12552 Caminito Mira Del Mar
1600 Pacific Hwy, Room 162              1600 Pacific Highway Room 162                    San Diego, CA 92130-2387
San Diego, CA 92101-2474                San Diego CA 92101-2477


Shane Jacobson                          Sharp Business Systems                           Sheila Berner
96 W 2700 S.                            8670 Argent Street                               15753 Brandiron St
Bountiful, UT 84010-6443                Santee, CA 92071-4172                            Ramona, CA 92065-7416

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Sienna Hill                              Site Impact, LLC   12                     Sorrento Valley Storage
4928 Angeles Crest Hwy                   6119 Lyons Road                                 10531 Sorrento Valley Road
La Canada, CA 91011-2314                 Coconut Creek, FL 33073-4740                    San Diego, CA 92121-1608



Stackadapt Inc.                          Stacy Elledge Chiang, CPA/CFF, CIRA             Stephen F McCue
210 King Street East, Ste. 500           Squar Milner LLP                                c/o Mark E Terman, Faegre Drinker
Toronto, ON M5A 1J7                      3655 Nobel Drive, Suite 300                     1800 Century Park East, Ste 1500
Canada                                   San Diego, CA 92122-1050                        Los Angeles CA 90067-1504


Stephen W Wheeler                        Stephen W. Wheeler                              Steve Greenapple
c/o Mark E Terman, Faegre Drinker        1206 Caminito Graciela                          Steiker, Greenapple and Fusco
1800 Century Park East, Ste 1500         Encinitas, CA 92024-7002                        100 East Hanover Avenue #404
Los Angeles CA 90067-1504                                                                Cedar Knolls, NJ 07927-2020


Steven F. McCue                          TST Ink                                         Texas Workforce Commission
2901 Amigo Drive                         1042 N. El Camino Real                          Office of Attorney General
Lake Havasu City, AZ 86404-2105          Suite B-126                                     Bankruptcy & Collections Div.
                                         Encinitas, CA 92024-1322                        PO Box 12548, MC-008
                                                                                         Austin, TX 78711-2548

The Irvine Company LLC                   Tina Stephanos                                  Todd C Toral Esq
Attn: Sr. VP, Property Operati           4189 Lochlomond St.                             Christopher J Rillo Esq
550 Newport Center Drive                 San Diego, CA 92111-3625                        JENNIFER & BLOCK LLP
Newport Beach, CA 92660-7010                                                             633 West 5th Street Suite 3600
                                                                                         Los Angeles, CA 90071-2091

Todd C. Toral, Esq.                      Todd Ochsner                                    Touchstone Development Inc.
JENNER & BLOCK LLP                       2810 McPherson Street                           Touchstone Communities LLC
633 West 5th Street Suite 3600           Waxhaw, NC 28173-6426                           9909 Mira Mesa Blvd, Suite 150
Los Angeles, CA 90071-2091                                                               San Diego, CA 92131-1072


UTC Properties LLC                       United Health Care                              VSP
Attn: Property Manager                   PO Box 6044                                     PO Box 45210
9191 Towne Center Dr., #125              Cypress, CA 90630-0044                          San Francisco, CA 94145-5210
San Diego, CA 92122-6205


Vanessa Chow                             Volvo Car Financial Services US, LLC            Volvo Financial Services
40241 Medford Road                       c/o Weltman, Weinberg & Reis Co LPA             PO Box 91300
Temecula, CA 92591-3546                  965 Keynote Circle                              Mobile, AL 36691-1300
                                         Brooklyn Heights, OH 44131-1829


Walter c/o Zesty                         William Coles                                   Zillow Group, Inc
2044 1st Ave #200                        14615 Frankel Loop                              c/o Sara L. Chenetz/Perkins Coie LLP
San Diego, CA 92101-2089                 Pflugerville, TX 78660-4860                     1888 Century Park East, Suite 1700
                                                                                         Los Angeles CA 90067-1721


Zillow Group, Inc.                       Zillow, Inc.                                 Dan McAllister
1301 Second Avenue, Floor 31             1301 Second Ave., Floor 31                   Treasurer-Tax Collector
Seattle, WA 98101-0003                   Seattle, WA 98101-0003                       1600 Pacific Hwy Room 162
                                                                                      Attn: Bankruptcy Desk
                                                                                SERVICE   LISTCA- 92101-2477
                                                                                      San Diego,     Page 11
               Case 19-04688-CL7                Filed 01/25/21                           SERVICEDoc
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                                                                                                                        of
Gene T. Peterson                                                           12
                                                       Ronald E. Stadtmueller                    William P. Fennell
1869 Guilder Gln                                       10755 Scripps Poway Pkwy., #370                     Law Office of William P. Fennell, APLC
Escondido, CA 92029-3040                               San Diego, CA 92131-3924                            600 West Broadway, Suite 930
                                                                                                           San Diego, CA 92101-3352




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


BMW Financial Services
PO Box 78103
Phoenix, AZ 85062-8103




                The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)First American Bank                                 (u)Kolodny & Pressman LLP                            (u)NASH Cascadia Verde, LLC




(u)NASH Eagle Ridge, LLC                               (u)NASH Rancho Hills, LLC                            (u)NASH Sweetwater, LLC




(u)NNP III-Estrella Mountain Ranch, LLC                (u)Newland Real Estate Group, LLC                    (u)Prudent Fiduciary Services LLC




(d)Ronald R. Peterson, Esq.                            (d)Steve Greenapple                                 (d)UTC Properties LLC
JENNER & BLOCK LLP                                     Steiker, Greenapple and Fusco                       c/o R. Gibson Pagter, Jr.
353 N. Clark Street                                    100 East Hanover Avenue, #404                       PAGTER AND PERRY ISAACSON
Chicago, IL 60654-5474                                 Cedar Knolls, NJ 07927-2020                         525 N. Cabrillo Park Drive, Suite 104
                                                                                                           Santa Ana, CA 92701-5017

(u)Diane L. Gaynor                                     (u)Jane Wheeler                                      (u)Miguel Paredes




(u)Stephen W. Wheeler                                  (u)Steven F. McCue                                  End of Label Matrix
                                                                                                           Mailable recipients   122
                                                                                                           Bypassed recipients    17
                                                                                                           Total                 139
                                                                                                SERVICE LIST - Page 12
